Case 2:03-cV-O2771-.]DB-tmp Document 22 Filed 06/06/05 Page 1 of 2 Page|D 35

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JERLDEAN DANIEL, er al., W.D- Of-‘ “r“N, mattress
Plaintiff,
v. No. 03-2771-B/V

MEMPHIS CITY BOARD OF EDUCATION,

Defendant.

 

ORDER

 

This court, having been advised by defense counsel that settlement has been reached on
all matters in this case, directs that this action be DISMISSED. Furthermore, any pending
motions are DENIED as moot and all proceedings currently set before the court are removed
from the court’s calendar.

The dismissal granted herein shall be without prejudice for a period of 30 days from the
entry of this order. If settlement is not consummated Within that 30 day period, the parties may
reopen this action upon motion approved by the court. Should the parties fail to move to reopen
the case within the prescribed period, the matter shall, without further order, stand dismissed
wi_th prejudice

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.DANIEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:03-CV-02771 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

